
726 S.E.2d 184 (2012)
L &amp; S WATER POWER, INC., et al.
v.
PIEDMONT TRIAD REGIONAL WATER AUTHORITY.
No. 198PA11-1.
Supreme Court of North Carolina.
June 18, 2012.
Robert A. Brinson, High Point, for Piedmont Triad Regional Water Authority.
James Scott Hale, Greensboro, for L &amp; S Water Power, Inc., et al.
Charles D. Case, for Piedmont Triad Regional Water Authority.
V. Randall Tinsley, Raleigh, for City of Salisbury.
Christy E. Wilhelm, Concord, for Water and Sewer Authority of Cabarrus County.
Len S. Anthony, General Counsel, for Carolina Power &amp; Light Co. d/b/a Progress Energy Carolinas, Inc.
Robert B. Schwentker, General Counsel, for N.C. Electric Membership Corporation.
Kimberly S. Hibbard, General Counsel, for N.C. League of Municipalities.
Daniel F. McLawhorn, Special Deputy Attorney General, for N.C. League of Municipalities.
The following order has been entered on the motion filed on the 13th of June 2012 by N.C. League of Municipalities for leave to file Amicus Curiae Brief:
"Motion Allowed by order of the Court in conference, this the 18th of June 2012."
Unless already submitted, the Amicus Brief shall be submitted to the court within the times allowed and in the manner provided by Appellate Rule 28(i).
